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                                                                                                  r

                                                                             FILED
                                                                                                  '~
                                                                                                  ~ ,~
    1    Pritish Vora
                                                                    2018 ~ P i ~+ PPS 3~ 17
    2 27758 Santa Marg. Pkwy,#530
                                                                    C' ~ ~           ~ ~ I CURT
                                                                     ~:~~        ~ ~ ~i~ CALF:
    3    Mission Viejo, CA 92691                                            , ri i`a! f
    4    949-292-8359                                               ~'~'~. ~

    5 Plaintiff in Pro Per
    6
    7
    8
    9                           UNITED STATES DISTRICT COURT

   10                         CENTRAL DISTRICT OF CALIFORNIA

   11
         Pritish Vora,                               Case No. SACV18-01674 JLS(JDEx)
   12
                        Plaintiff,                   Violations of the Fair Credit
   13
               vs.                                   Reporting Act[15 U.S.C. § 1681 et
   14
   15    LVNV FUNDING,LLC, a Delaware                seq.]

   16    Limited Liability Company, and
         RESURGENT CAPITAL SERVICES,                 TRIAL BY JURY DEMANDED
   17
   18    L.P., a Delaware Limited Partnership,
`~~ 19                  Defendants.

   20
   21    COMES NOW, Plaintiff, Pritish Vora, ("Plaintiff'), by way of Pro Se, brings
   22
         complaint against Defendant LUNV FUNDING, LLC ("LUNV") and D
   23
   24    RESURGENT CAPITAL SERVICES, L.P.("RESURGENT") individually name

   25    as LUNV and RESURGENT and collectively named as "Defendants," for viola
   26
         of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.("FCRA"), all parts
   27
   28    sub-parts that apply, and alleges herein as follows:



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1
                          PRELIMINARY STATEMENT FCRA

2          1.     The FCRA "was crafted to protect consumers from the transmission o
3
     inaccurate information about them, and to establish credit reporting practices tha
4
5    utilize accurate, relevant, and current information in a confidential and responsiblf
6
     manner. See Guimond v. Trans Union Credit Info. Co., 45 F.3d 1329, 1333(9t" Cir.
7
8    1995)(internal citations omitted).

9          2.     The statute governing "permissible purposes of consumer reports,
10
     FCRA 15 U.S.C. § 1681b, provides in pertinent part: "(a) In general. Subject
11
12   subsection (c) of this section, any consumer reporting agency may furnish
13
     consumer report under the following circumstances and no other."
14
15   added).
16
           3.     The FCRA regulates credit reporting agencies as well as creditors
17
18   collection agencies, and other parties who provide information to credit reporti

19   agencies and/or obtain and use the consumer credit reports. 15 U.S.C. § 1681
20
     identifies the permissible purposes allowed under the act for conducting credi
21
22   reviews on consumers.
23
            4.    "Section 623(b)(1)(A) of the FCRA makes it unlawful for a furni
24
25    of information to a Consumer reporting agency, upon receiving a notice of

26    Consumer dispute from the Consumer reporting agency, not to conduct a reasonab
27
      investigation of the disputed information. 15 U.S.C. § 1681s-2(b)." (See CFPB v.
28



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1    Encore Capital Groin, Inc., et al., CFPB File No. 2015-CFPB-0022, at ¶ 124).

2          5.    "Furnishers" are sources that provide credit information to
3
     reporting agencies. Gorman v. Wolpoff&Abramson, LLP, 584 F.3d 1147, 1153(9
4
5    Cir. 2009). Under FCRA,"furnishers" have the duty to investigate and/or c
6
     inaccurate information, and an individual may bring a private cause of action to
7
8    a furnisher for its failure to fulfill those duties. 15 U.S.C. § 1681s-2(b); Nelson v

9    Chase Manhattan Mort. Cori., 282 F.3d 1057, 1060(9th Cir. 2002).
10
                              JURISDICTION AND VENUE
11
12         6.     Jurisdiction of this court arises pursuant to Sec 618 of the FCRA[15
13
     U.S.C. § 1681p], and pursuant to 28 U.S.C. § 1331.
14
15         7.     Venue is proper in the United States District Court for the Centra
16
     District of California pursuant to 28 U.S.C. § 1391(b)because Plaintiffresides in
17
18   County of Orange, State of California, the harm to Plaintiff occurred in this

19   and each defendant regularly conduct business in this District, and in the State c
20
     California, therefore establishing personal jurisdiction.
21
22                                         PARTIES
23
           8.     Plaintiff, Pritish Vora, a natural person, is an adult individual who
24
25   resides in the County of Orange, in the state of California.

26         9.     Plaintiff is a "person" as defined in 15 U.S.C. § 1681a(b), and is a
27
     "consumer" as defined in 15 U.S.C. § 1681a(c).
28



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                                      CnMPT,ATNT FnR 1~AMAGES
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 1           10.      LVNV is a Delaware limited liability company that was organized

 2     pursuant to Delaware law on April 13, 2005. LVNV has a registered agent for
 3
       service of process, and may be served at CORPORATION SERVICE COMPANY
 4
 5     251 Little Falls Drive, Wilmington, DE 19808.
 6
             1 1.     LVNV is listed as a "debt buyer" in consumer reports, and as
 7
                                                                   site for consumers
 8 "factoring company" with Credit Karma, a free credit monitoring
 9           12.      LVNV does NOT list either an office address or mailing address on it
10
       own website, and states the following on its website:"LVNV's name may appear
11
12     a customer's credit report or in a letter from a collection agency."
13
             13.      LVNV lists its principal office address as 6801 S. Cimarron Rd., S
14
15 424-J, Las Vegas, NV 89113 with various Secretaries of States, but NOT in Nev
16
       LVNV lists an address for its officers with the Nevada Secretary of State as 5
17
18     Beattie Place, Suite 100, Greenville, SC 29601. (Emphasis added).

19           14.      LVNV is an acronym for "Las Vegas, NeVada," hence "LVNV."
20
              15.     LVNV is NOT registered as a foreign limited liability company wi
21
22     the California Secretary of State, yet LVNV is the named Plaintiff in "10,000's o
23 I                                                                           ins. LLC
       lawsuits filed in CA." (See Demurrer to Complaint, LVNV F
24
                    limited liability comnanv v. James                        Fu
25
26     a California corporation, Case No: 30-2018-00995760-CL-BT-CJC, page 9).
27
28



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           16.    RESURGENT is a Delaware Limited Partnership that was organ
1
2    pursuant to Delaware law on June 24, 1999.
 3
           17.    RESURGENT lists itself on its website as a "debt collector" and
 4
 5   term is defined by the Fair Debt Collection Practices Act("FDCPA")[15 U.S.C.
 6
     1692a(6)].
 7
 8         18.    RESURGENT appears in a business entity search with the Califo

 9   Secretary of State, and has a registered agent in California. RESURGENT may b
10
     served at Corporation Services Company —CSC, Lawyers Incorporating Sery
11
12   2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833.
13
           19.    RESURGENT lists its principal office address as 55 Beattie
14
15   Suite 100, Greenville, SC 29601 on its website, the exact same address that L
16
     lists for its officers with the Nevada Secretary of State. (Emphasis added).
17
           20.    LVNV and RESURGENT are also "covered persons" as defined by
18
19   Consumer Financial Protection Act ("CFPA"), 12 U.S.C. § 5481(6). See also 12
20
     U.S.C. § 5481(5) and (15)(A)(x). The Consumer Financial Protection Burea
21
22 ("CFPB") has jurisdiction of covered persons pursuant to CFPA for violations o
23
     FDCPA and FCRA, including, but not limited to Sec 623(a)(8)(E) of the FORA [1
24
25   U.S.C. § 1681s-2(a)(8)(E)]. A consumer has no private right of action pursuant

26   Sec 623(a) of the FCRA [15 U.S.C. § 1681s-2(a)]. See             ~. RBS Nat. Ba
27
     288 F. App'x 641,642(11th Cir. 2008)(holding that the FCRA does not provide
28



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 1   private right of action to redress violation of § 1681s-2(a) of the FORA, w

2    requires furnishers to submit accurate information to consumer reporting agencies).
 3
     (Internal cites omitted). (Emphasis supplied).
 4
 5          21.   LVNV and RESURGENT are also each a person who "regularly and in
 6
     the ordinary course of business furnishes information to one or more cons
 7
 8    reporting agencies" about "transactions or experiences" with Consumers,

 9    described in Sec 623(a)(2)(A) of the FORA, 15 U.S.C. § 1681s-2(a)(2)(A), and
10
      each a "furnisher" as defined in Regulation V, 12 C.F.R. 1022.44(c).
11
12
       RESPONDEAT SUPERIOR AND PRINCIPAL-AGENT RELATIONSHIP
13
14          22.   Pursuant to the common-law doctrine of Respondeat Superior, L
15
      is responsible for (has vicarious liability for) the acts of its agent, RESURGENT.
16
17          23.    By way of example, the Honorable Magistrate Judge Mark J. Dins
18
      opined: "While courts presume that companies are separate entities, clear evidenc
19
20
      can overcome this presumption when:(1)"an agency relationship can be perceived,'

21 (2) one company asserts greater-than-normal control over the other, and (3)
22
      one company is "merely an empty shell."(See Court Order on Motion to compe
23
24    deposition answers, Cox v Sherman Case No. 1:12-cv-01654-TWP-MJD, Documen
25
      88 at page 3). (Emphasis supplied).
26
27          24.    The court concluded that LVNV "was essentially a shell company."

28 (Cox,Id.).



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1          25.   LVNV is amanager-managed LLC and has no employees. (S

2    Mitchell v. LVNV FUNDING,LLC Case No. 2:12-cv-523-TLS).
3
           26.   LVNV has a written agreement and power of attorney wi
4
5    RESURGENT.       RESURGENT acts as the attorney-in-fact for LVNV. (S
6
     Mitchell, ECF No. 39).
7
8          27.   RESURGENT, operating as a collection agency, does have emplo

9    and directs collection activities on behalf of LVNV. (See Mitchell, ECF No. 168).
10
           28.   LVNV will have its counsel"deny" it is a "debt collector" in
11
12   complaints filed in Federal Court when LVNV is alleged to be a "debt collector."
13
     (See Wilder v. LVNV FUNDING, LLC and BLITT AND GAINES, P.C. Case No.
14
15   1:16-cv-01965, Document 16 at y[ 7).
16
           29.   LVNV has a subscriber agreement with the consumer reporti
17
18   agencies ("CRAs"), including, but not limited to, Experian Information Solutions

19   Inc. ("EXPERIAN"), Equifax Information Services, LLC ("EQUIFAX"),
20
     TransUnion, LLC("TRANSLTNION").
21
22         30.   RESURGENT acts as the servicing agent for LVNV to furni
23
     information to the CRAs, however each is responsible of furnishing information.
24
25         31.   By way of example, LVNV is the named entity listed on Plaintiff

26    consumer reports with TRANSUNION, EQUIFAX and EXPERIAN, either
27
      itself, or listed as "LVNV FUNDING, LLC (c/o RESURGENT CAPIT
28



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1       SERVICES, L.P.)". LVNV knows(and should know)that EXPERIAN has its N

2       American Headquarters at 475 Anton Blvd., in Costa Mesa, CA.1 By furnis
 3
        information on a consumer report with a company in CALIFORNIA, LVNV i
 4
 5      attempting to do business in California. (Emphasis added).
 6
               32.    LVNV has been sued in the past for violations of the FCRA, 15 U.S.C.
 7
 8      § 1681s-2(b) for failing to correct or delete information in a credit file after receivi

 9      actual notice of such inaccuracies. (See Smith v. LVNV Funding LLC, Case No
10
        1:08-cv-00606-JRN, Document 1 at 9[ 52-56). LVNV also has been sued
11
12      to violations of 15 U.S.C. § 1681b(f~ of the FCRA. (See LEE v. LVNV FUNDIN
13
        LLC, Case No. 8:13-cv-01131-BR-SH, Document 3 at y[ 28).
14
15                                    STATEMENT OF FACTS

16
               33.    Plaintiff reaffirms and incorporates by reference all
17
18      paragraphs as though fully stated herein.

19             34.    Upon information and belief, The United States Supreme C
20
         explained that F.R.C.P. 8(a)requires that a complaint "give the defendant fair noti
21
22       of what the ...claim is and the grounds upon which it rests." See Bell Atl.               u

23
         Twombly, 550 U.S. 544, 555 (2007)(internal citations omitted).
24 ~'
25             35.    Pursuant to F.R.C.P. 8(b)(2), Denials —Responding to the Subs

26 "A denial must fairly respond to the substance of the allegation."
27
28
         ~ http://www.experian.com/corparate/experian-locations.html


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1            36.    Pursuant to F.R.C.P 8(b)(4), "if a party that intends in good faith

2      deny only part of an allegation must admit the part that is true and deny the rest.
3
     (Emphasis added).
4
5            37.    Defendants know (or should know) that EXPERIAN, EQUIFAX
6
       TRANSUNION are CRAs within the meaning of the FCRA, 15 U.S.C. § 1681a(~.
7
8            38.    Defendants know (or should know)that a "consumer report" is

9      pursuant to the FORA, 15 U.S.C. § 1681a(d).
10
             39.    RESURGENT is 99°Io owned by SHERMAN FINANCIAL GROU
11
12     LLC ("SFG LLC") (limited partner} and 1% owned by ALEGIS GROUP
13
     ("ALEGIS")(general partner).
14
15           40.    LVNV is 100°Io owned by SHERMAN ORIGINATOR, LLC ("S

16
       LLC"). SO LLC is 100% owned by SFG LLC, and SFG LLC also owns 100%
17
18     SHERMAN ORIGINATOR III LLC("SO III")

19           41.    RESURGENT knew (or should have known)that on or around M
20
       13, 2017, SO III allegedly purchased, attempted to purchase, or looked i
21
22     purchasing anon-existent debt for a credit card number (XXXX-XXXX-XXXX
23
       7835) from Capital One Services, LLC, a "debt collector" and a wholly-
24
25     subsidiary of Capital One, N.A. (Emphasis added).

26            42.   LVNV knew (or should have known) that on or around March 13
27
       2017, SO LLC allegedly purchased, attempted to purchase, or looked i
28 ~



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1     purchasing anon-existent debt for a credit card number(XXXX-XXXX-XXXX

2     7835), the same credit card number from Capital One Bank(USA) N.A.,("Capi
3
      One Bank") which is a different bank and entity from Capital One, N.A
4
5 (Emphasis added).
6
            43.    Defendants knew (or should have known) that in order for two alle
7
8     creditors to allegedly "sell" an alleged account through assignment, there must be

 9    applicable cardholder agreement, an assignment clause, and proof of assignment.
10
      Capital One Financial Corporation(NYSE: COF)is the parent of both Capital O
11
12    Bank and Capital One, N.A., which is information known (or should have
13
      known) by defendants. LVNV and RESURGENT know that SO III and SO
14
15    are also separate entities, and thus in order for two entities to allegedly "purchase"
16
      an account through assignment, there must be an applicable cardholder agreement,
17
18    an assignment clause, and proof of assignment.

19          44.    None of the Capital One entities is named as a defendant in thi
20
      complaint.    The respective parent companies of LVNV and RESURGENT
21
22    including SO LLC,SO III, ALEGIS and SFG LLC are also not named as defendants
23
      and are mentioned herein for clarity and reference.
24
25          45.    On March 16, 2017, then again on April 25, 2017, and yet again o

26    October 24, 2017, defendants violated 15 U.S.C. § 1681 by running credit inquiri
27
      into Plaintiffs consumer credit report with EXPERIAN, without Plaintiff
28



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                                      ('OMPT~ATNT FnR PAMAGRS
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1      knowledge or authorization, and without having a permissible purpose

2      conducting a credit review defined pursuant to 15 U.S.C. § 1681b.
3
             46.      Defendants did not obtain permission from Plaintiff to conduct a credi
4
5      review and/or credit inquiry with EXPERIAN for purposes of extending credit,
6
       employment, insurance, underwriting, or any other purposes allowed by the FORA.
7
8      The credit reviews are still reflecting on Plaintiffs EXPERIAN credit report and

9      until today.
10
             47.      At or about the time Defendants initiated the credit pulls of Plaintiff
11
12     consumer report with EXPERIAN:
13
                      a.    Plaintiff did not apply for any credit, loans or services wi
14
15                          Defendants, and Defendants did not make an offer for credit
16
                            Plaintiff.
17
                      b.    Plaintiff did not seek employment with Defendants.
18
19                    c.    Plaintiff did not owe any debts to Defendants.
20
                      d.    Plaintiff did not apply for an insurance policy with Defendants.
21
22                    e.    Plaintiff did not have any existing accounts) within
23
                             meaning of the Electronic Fund Transfer Act ("EFTA"), 15
24
25                           U.S.C. § 1693 et seq. and pursuant to 15 U.S.C. § 1681a(r)(4).

26 1                        (Emphasis added).
27
                      f.     Plaintiff did not initiate any business transaction with defendants.
28



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                  g.     Defendants did not need the report for the purpose of establishing
1
2                       Plaintiffs capacity to make child support payments.
3
                  h.     Defendants were not administering a state plan under §454 of
4
5                        Social Security Act[42 U.S.C. § 654].
6
            48.   Defendants conducted the above described credit reviews on Plaintiff
7
8     records without communicating a permissible purpose as defined by the FCRA
9     Defendants conducted their actions with the willful intent to extort funds fro
10
      Plaintiff through the insertion of false information which it knew (or should ha
11
12    known) would damage Plaintiffs credit score, credit worthiness and reputation
13
      Upon information and belief and at all times relevant, defendants acted with the
14
15    awareness and knowledge that accessing Plaintiffs consumer report would viola
16
      the FCRA, 15 U.S.C. § 1681b(~, and would continue to violate the FORA with
17
18    subsequent impermissible pull of Plaintiff's report.

19          49.    Defendants knew (or should have known)that Plaintiff has standing
20
      claim damages of willful violations of the FCRA, pursuant to 15 U.S.C.
21
22     1681n(a)(1)(B), as stated, quoted verbatim: "in the case of a natural person
23
       obtaining a consumer report under false pretenses of knowingly without
24
25     permissible purpose, actual damages sustained by the consumer as a result of

26    failure or $1,000 whichever is greater." (Emphasis added).
27
28



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1           50.    On March 27, 2017, Plaintiff sent a copy of a "NOTICE" to SO III

2     certified mail with electronic return receipt to PO BOX 10497 in Greenville,
3
      29603, which is
4
5     and DENIED he owed a debt regarding the Capital One Bank credit card
6
      XXXX-XXXX-XXXX-7835 (hereinafter referred to as "the alleged account").
7
 8          51.    RESURGENT knew (or should have known) that the NOTI

 9    provided the history and background of Plaintiff's dispute with Capital One B
10
      and its agents regarding the alleged account, and it speaks for itself.
11
12          52.    RESURGENT knew (or should have known) that Plaintiff made i
13
      abundantly clear in the six-page NOTICE that the alleged account was a
14
                                                                           25
15 fictional,imaginary account number that was created on or around August
16
      2016, by Capital One Bank itself, without Plaintiff's knowledge or consent, a
17
18     without any applicable customer agreement. (Emphasis added).

19          53.    RESURGENT knew (or should have known) that SO III did
20
      respond to Plaintiff, and thus did not dispute any of the factual averments or denials
21
22    including, but not limited to:
23
                   a.     That the alleged "balance of $8,955.36" was denied.
24
25                 b.     That the alleged "ownership" of the account was denied.

26                 c.     That the alleged account was "in default" was denied.
27
28



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  1           54.    Defendants sent a collection letter to Plaintiffthrough one ofits

  2     CREDIT CONTROL, LLC ("CREDIT CONTROL"), dated March 23, 2017
  3
        received by Plaintiff on or around early April 2017, and the letter claimed it was
  4
  5 I "attempt to collect a debt." The letter crossed the mail with Plaintiff's letter da
  6
       ' March 27, 2017 to SO III. Upon research and inquiry online, Plaintiff learned
  7
  8     letter was a "dunning letter."
  9           55.    Defendants know (or should know)that "A dunning letter is the
10
        as a collection letter." (See Jolly v. Shapiro, 237 F.Supp. 2D 888, 892 n.3 N.D.
11
12 2002).
13
              56.   Plaintiff had never heard of the word "dunning" but found it pe
14
15     that it rhymed with the word "cunning." Cambridge Dictionary defines "cunning'
16
       as "sl~llful in planning and ready to deceive geoule to yet what you want.
17
18 (Emphasis added).
19            57.   The dunning letter falsely listed LVNV as "Current Creditor"
20
       falsely listed "Capital One, N.A." as the "Original Creditor." The letter made
21
22     mention of the entity "Capital One Bank (USA) N.A." and also falsely listed
23
       "last payment" for the account number "ending in 7835" as "07/06/2016."
24
25 ~         58.    The dunning letter stated "the account was purchased by LVNV."
26
27
28



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                                         COMPLAINT FOR DAMAGES
     Case 8:18-cv-01674-JLS-JDE Document 1 Filed 09/14/18 Page 15 of 52 Page ID #:15




             59.    The dunning letter cited not one shred of evidence that L
1
2 "purchased" "the account," and thus the claim and the overall dunning letter its
3
  was construed by Plaintiff as false, deceptive and amounted to hearsay.
4
5       60. Plaintiff did not apply for, and did not receive a "firm offer for credi
6
      or insurance" from LVNV,pursuant to 15 U.S.C. § 1681a(1) of the FCRA. (See
7
8     at 9[ 30).

9            61.    LVNV is not a "creditor" as defined in section 702 of the Equal
10
      Opportunity Act[15 U.S.C. § 1691a(e)].
11
12           62.    LVNV is not a "creditor" as defined in Sec 803(4) of the FDCPA,[1
13
      U.S.C. § 1692a(4)].
14
15           63.    LVNV is not a "creditor" as defined in the Truth And Lending Act [1

16
       U.S.C. § 1602(g)].
17
             64.    LVNV is not a "financial institution" as defined in 15 U.S.C. § 1681a(t
18
19     of the FORA.
20
              65.   LVNV knew (or should have known) that Plaintiff did NOT incur
21
22     debt for the alleged account. The term "debt" is defined pursuant to the FDCPA, 1
23
       U.S.C. § 1692a(5).
24
25            66.   LVNV knew (or should have known) that Plaintiff was NOT a de

26     for the alleged account. The term "debtor" is defined by California Civil Code §
27
       1788.2(h).
28



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 1          67.    On April 3, 2017, Plaintiff sent "NOTICE" to LVNV to its Presi

 2    Kevin P. Branigan. Plaintiff sent the letter to the address listed in the dunning letter
 3
      in Hazelwood, MO. Plaintiff cited the alleged account was an "Ineligible Accoun
 4
 5    which is one that is defined in standard "debt buyer agreements" and one that is NO
 6
      subject to collections.2 LVNV knew (and should have known) the definition of
 7
                                                                     consumer, and/
 8 "Ineligible Account" can include an account that is disputed by a
 9 ! a "Removed" and/or "Deleted" account from a bank's portfolio of accounts.
10
          68. The NOTICE was sent via United States Postal Service Express Mai
11
12    with tracking receipt, and received by LVNV through its agent on April 4th, 2017
13
      CREDIT CONTROL is not a defendant in this complaint, and is named herein onl
14
15    for clarity and reference.
16
            69.    LVNV knew (or should have known)that the NOTICE included a c
17
18    of the dunning letter. Plaintiff wrote the word "DENIED" across the front, with

19    arrow pointing to the alleged "Balance Due." Plaintiff also wrote the
20
      "REFUSAL TO ACCEPT OFFER, WITHOUT RECOURSE" on the
21
22    where Defendants, on behalf of their agent, were attempting to make an offer
23
      contract with Plaintiff. LVNV knew (or should have known) that Plaintiff signe
24
25    the NOTICE in front of a California Notary, and the NOTICE speaks for

26 ~,(Emphasis added).
27
28
      2 http://debtbuyeragreements.com/archives/category/agreements



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            70.   Defendant LVNV knew (or should have known)that Plaintiff
1
2     he owed a debt, and refused to pay it. (Emphasis added).
3
            71.   LVNV knew (or should have known) that there was NO applicab
4
5     signed Cardholder Agreement for the alleged account.
6
            72.   LVNV knew (or should have known)that there was NO physical credi
7
8     card for the alleged account.

 9          73.    LVNV knew (or should have known) that there were NO
10
      transactions for the alleged account.
11
12          74.    LVNV knew (or should have known) that there were NO statemen
13
      sent by Capital One Bank or received by Plaintiff for the alleged account.
14
15          75.    LVNV knew (or should have known) that Plaintiff sent a copy of

16
      NOTICE to the CFPB, which due to postal delays in Washington D.C., arrived i
17
18    Iowa to the CFPB office on May 4, 2017, and assigned a C

19    The NOTICE to LVNV is on file as a complaint against LVNV with the
20
      Agency, and is a matter of record. (Emphasis added).
21
22          76.    On or around May 2, 2017, defendants made a conscious choice
23
      furnish false, inaccurate, patently misleading an unverified information
24
                                         the alleged account.
25 Plaintiffs consumer reports regarding
26          77.    Plaintiff received an alert from a credit monitoring service on or aro
27
       May 10, 2017, indicating that "LVNV FUNDING, LLC" was the furnisher o
28



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      information fora "collections" item regarding the alleged account.         Plainti
1
2     incurred no such debt that was subject to "collections" and thus the item
3
      FALSE,inaccurate, patently misleading, and unverified. (Emphasis added).
4
5           78.    The furnishing of the alleged account caused Plaintiff s credit score
6
      drop from 720 to 545 once defendants furnished the false information into Plaintiff
7
8     credit reports, thus causing harm to Plaintiffs credit worthiness and reputation.

9           79.    Plaintiff sent a "NOTICE OF DISPUTE" to all three CRAs on May 22
10
      2017, via certified mail with EXPERIAN and EQUIFAX, and via telephonic disp
11
12    with TRANSUNION, disputing the accuracy of the item, citing the impermissi
13
      pull made by defendant(s), and requesting a reinvestigation.
14
15          80.    Defendants knew (or should have known) that the CRAs initiated

16
      dispute via Automated Credit Dispute Verification ("ACDV"), and that
17
18    furnisher, LVNV,received the NOTICE.

19          81.    Defendants knew (or should have known)that the alleged "balance" o
20
      the alleged account was FALSE,inaccurate, patently misleading, and unverified.
21
22          82.    Defendants knew (or should have known)that the account number its
23
       was FALSE,inaccurate, patently misleading, and unverified.
24
25           83.   Defendants failed to conduct a proper investigation upon receipt

26     NOTICE from the CRAs,thereby violating 15 U.S.C. § 1681s-2(b)(1)(A), and
27
       to DELETE the item thereby violating 15 U.S.C. § 1681s-2(b)(1)(E)(ii).
28



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1           84.   RESURGENT responded to the CFPB in a letter dated June 15, 2017

2     regarding Plaintiff's complaint against LVNV filed with the CFPB. RESURG
3
      knows that LVNV does not respond directly to the CFPB regarding a complaint.
4
5           85.   RESURGENT knowingly, willfully, intentionally and maliciousl
6
      made false statements in writing and sent those false statements through the U.S.
7
8     Mail and/or through the U.S. Wires (i.e., via fax, Internet, online portal

 9    consumerfinance.gov) to the CFPB, a federal agency. (Emphasis added).
10
            86.   By way of example, RESURGENT stated to the CFPB, quote
11
12    verbatim:"We have verified with the original creditor that the card was reported
13
      or stolen, so a new account number was assigned to the account."
14
15          87.   RESURGENT knew (and should have known) that there was no suc
16
      card "reported lost or stolen." RESURGENT concocted a story for the CFPB.
17
                   a.    RESURGENT did not provide any supporting documentation
18
19                       the CFPB to make such a fabrication that "a new account w
20
                         assigned" because a card was "reported lost or stolen."
21
22                 b.    RESURGENT did not provide a copy of a police report to
23
                         CFPB.
24
25                 c.    RESURGENT did not provide a copy of a fraud affidavit to the

26                       CFPB.
27
28



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                      d.      RESURGENT did not provide a MP3 or other type of audio
 1

 2                            with a recording of Plaintiff calling Capital One Bank
 3
                              reporting a card as "lost or stolen."
 4

 5            88.     RESURGENT allegedly sent documents which it claimed satisfied
 6
        requirements to "validate the debt" pursuant to § 1692g of the FDCPA. LVNV
 7

 8 (or should have known)that when
                                   RESURGENT responds to a consumer comp

 9
        on behalf of LVNV to the CFPB,it preys upon the gullibility of what Congress c
10
        the "least sophisticated consumer."~ RESURGENT knew (or should have known)
11

12      that its response to the CFPB was filled with gobbledygook and "account stated"
13 ~'
        theories, which Plaintiff construed as hearsay, and were DENIED.
14

15             89.    RESURGENT knew (or should have known)that Capital One Bank
16
        NOT send any account statements to Plaintiff regarding the alleged
17

18
        RESURGENT already knew from prior correspondence by Plaintiff

19      Plaintiff demanded the applicable cardholder agreement directly from
20
        One Bank, and that Capital One Bank failed to provide it upon repea
21

22 "NOTICE" sent to both its CEO and its CFO. (Emphasis added).

23

24

25
        3 The term "least sophisticated consumer" does not imply that a person is of limited intelligence,
26
        or has trouble "Keeping Up with the Kardashians." Courts use this term liberally in viewing a
27
        case from the standpoint of a person who may not be familiar with abusive debt collection and
28
        credit reporting practices, in violation of the FDCPA and FCRA, respectively.


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1           90.     Defendants knew (or should have known) that the CFPB states

2 following on its site at consumerfinance.gov, quoted verbatim:
3
                      a.     "If you are looking for information specific to
4
5                     account, contact the bank or institution that issued your card. B
 6
                           law, the issuer must make your agreement available to yo
 7
 8                         upon request. If you are having trouble getting your agreement,

 9                         let us know by submitting a complaint." (Emphasis added).4
10
             91.    RESURGENT also indicated in its response to Plaintiff via the
11
12    that it was "a communication from a debt collector" and that it was "attempting
13
      collect a debt" from Plaintiff.
14
15           92.    Plaintiff responded to RESUGENT and filed a second complai
16
      against Defendant LVNV with the CFPB on July 10, 2017, disputing the claims b
17
18    RESURGENT. The CFPB assigned Case No. 170710-2234286. Defendants

19 (or should know)that the complaint is on file with the CFPB, and that Plaintiff s
20
    a hard copy via United States Postal Service Overnight Mail to RESURGENT
21
22 delivery tracking receipt. The "NOTICE" reaffirmed and incorporated
23
       reference the first complaint Plaintiff sent to LVNV,and the complaint
24
25 for itself. (Emphasis added).
26
27
28
       4 https://www.consumerfinance.gov/credit-cards/agreements/


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 1          93.   Defendants understood from Plaintiff's second "amended" complain

 2    that PlaintiffOBJECTED to an `account stated' back in July 2016 for a PRIOR credi
 3
      card account being reported inaccurately by Capital One Bank (XXXX-XXXX
 4
 5    XXXX-0117)to the CRAB ("the PRIOR account")
 6
            94.   Defendants understood that Plaintiff repeatedly sent "NOTICE"
 7
 8    Capital One Bank and to its parent via                      it restricted di

 9    demanding to see the front AND back of an ORIGINAL signed copyright 1999 true,
10
      correct and complete certified copy of the cardholder agreement evincing full
11
12 fair disclosure of ALL terms and conditions (also known as a "cus
13
      agreement"). Plaintiff also demanded the validation of the actual accounting, and
14
15    an officer or agent with personal knowledge of the facts to sign an affidavit ti
16
      "VERIFICATION OF DEBT" in order for Plaintiff to settle the PRIOR account.
17
18 (Emphasis added).
19          95.    Defendants understood that no person at Capital One Bank would s
20
      the affidavit despite three separate offers of presentment. Defendants unders
21
22    that Capital One Bank did not provide the validation of the actual accoun
23
      Defendants understood that Capital One Bank instead tried to "pawn off'
24
25    unsigned and post-dated copyright 2014 six-page customer agreement as

26 "applicable agreement." Defendants understood that Plaintiff DENIED
27
   copyright 2014 customer agreement was the applicable agreement.
28



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 1          96.   Defendants understood that Plaintiff included in his second

 2    complaint that Capital One Bank was sued in Federal Court in a case seeking class
 3
      action for utilizing these type of post-dated agreements as the "applicab
 4
 5    agreements" which were NOT a modification or amendment of an origi
 6
      agreement(See Wheeler v. Capital One, Case No. 2:12-cv-05848-MSG, at ~[ 27-30).
 7
 8    Plaintiff instructed Defendants to search via "Google" and therefore D

 9    knew (or should have known)that the bank settled the case with Wheeler.
10
            97.   Defendants understood that Plaintiff DENIED he owed a debt, dis
11
12    the same, and demanded strict proof thereof. Defendants understood that Capi
13
      One Bank failed to prove a debt. (Emphasis added).
14
15          98.   Defendants understood that Plaintiff sent a "NOTICE OF DISPUTE

16
      to the CRAs, requesting a reinvestigation of the item for lack of an applicab
17
18    cardholder agreement.

19          99.   Defendants understood that the CRAs conducted a reinvestigation,
20
      after failing to verify Capital One Bank had the agreement, the CRAB deleted
21
22 PRIOR account, and sent proof of permanent deletion to Plaintiff
23
      added). Defendants knew this was plainly stated in his CFBP complaint.
24
25          100. Defendants understood that Plaintiff did NOT release Capital One B

26    from its responsibility to provide him back the ORIGINAL security instrument
27
      the PRIOR account when Capital One Bank failed to provide a closing statemen
28



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 1    with a $0.00 balance due. Defendants understood that there was no

 2    struck that Plaintiff agreed to except for a ZERO balance. (Emphasis added).
 3
            101. Defendants understood that Capital One Bank still had an obligation as
 4
 5    per CFPB rules which state "by law" the bank must provide the agreement.
 6
            102. Defendants understood and knew (or should have known)that a bank's
 7
 8    obligation to comply with Plaintiff s demand for the applicable customer

 9    was NOT forgiven.
10
            103. Defendants understood that Plaintiff sent a complaint against the
11
12    of Capital One Bank with the CFPB on or around August 18, 2016 for failure
13
      comply with Plaintiff's demand notice. Defendants understood that the CFPB has
14
15    record of the complaint.
16
            104. Defendants understood that upon receipt of Plaintiff's complaint, th
17
18    bank created a fake account number ending in 7835 (i.e., the alleged account),

19 furnished false information on his consumer reports. (Emphasis added).
20
         105. Defendants understood that Plaintiff filed "NOTICE" to all CRAs
21
22 Capital One Bank created an unauthorized account, and that Plaintiff disputed
23
      information that was false, inaccurate, misleading and UNVERIFIED.
24
            106. Defendants      understood      that     TRANSUNION         conducted   i
25
26    reinvestigation, and DELETED the inaccurate item from Plaintiff's consumer
27
      on or around October 31, 2016, and sent Plaintiff proof of deletion.
28



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  1           107. Defendants knew (or should have known)that the CRAB have a po

  2 ~ that if an item is deleted, an ACDV
                                          is sent to ALL national reporting agencies.
  3
              108. Defendants understood that Plaintiff sent MULTIPLE additi
  4
  5 "NOTICE OF DISPUTES" to both EXPERIAN and EQUIFAX, with a "NOTI
  6
    OF PENDING LITIGATION" to the CRAB and Capital One Bank for b
  7
  8 violations ofthe FCRA when the item was not properly reinvestigated and deleted.
  9          109. Defendants understood that EXPERIAN was instructed by Capital
10
       Bank to DELETE the item March 10, 2017, and the item was deleted.
11
12           1 10. Defendants understood that EQUIFAX was instructed by Capital
13
       Bank to DELETE the item on March 10, 2017,and the item was deleted.
14
15     knew (or should have known)that Plaintiff obtained the proof of deletions.
16
             1 11. Defendants knew (or should have known) from his detailed
17
18     to the CFPB that Plaintiff had standing to sue BOTH the bank and the CRAB,

19 Plaintiff provided ample "NOTICE" to both,
                                                 and that the bank deleted the item o
20
   the remaining two credit bureaus to mitigate its damages.
21
22           1 12. Defendants understood that at all times relevant during Plaintiffl
23
       dispute, Capital One Bank or its agents DID NOT attempt to make any co
24
25    calls or send demands for payment for the alleged account. Defendants knew

26    should have known)that the bank did not simply refrain from attempting to coil
27
      because "it was playing nice nice" with Plaintiff. (Emphasis added).
28



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1           113. Defendants understood that the alleged account is the same Capital

2     Bank account number that RESURGENT was attempting to collect in its respons
3
      sent to Plaintiff's complaint filed with the CFPB. Defendants knew (or should ha
4
5     known) that the alleged account is nothing more than a phony, a fake, with
6
      Regulation Z disclosures, no physical credit card, and no cardholder agreement.
7
8            114. Defendants understood that the alleged account is the one

9     defendants falsely represented a `Balance Due" in the dunning letter.
10
             115.   Defendants understood that the alleged account is the one
11
12    defendants furnished to the CRAB, falsely representing that Plaintiff owed a debt.
13
             116. Defendants understood that the alleged account is the one de
14
15    failed to conduct a proper investigation upon receipt of NOTICE from the CRAB.
16
             1 17. Defendants understood that the alleged account is the one tha
17
18    RESURGENT falsely represented to the CFPB that it "verified" it was "a ne

19     account number assigned" because "the prior card was reported lost or stolen.
20
      (Emphasis added).
21
22           118. Defendants have faced regulators in Maryland for allegedly provi
23
       state courts with inapplicable cardholder agreements in attempts to collect a debt.
24
25           1 19. Defendants were "busted" by the regulators in Maryland, but avoided

26     hearing and settled the case without admitting any wrongdoing. The complaint
27
       the settlement agreement are a matter of public record, are readily available for any
28



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1     person who has a laptop computer, an Internet connection, and can "Google it.

2     Defendants know that each document speaks for itself.(See
3
      Funding, LLC, Case No. DFR-FY2012-012). By way of example, the allegatio
4
5     by the Maryland State Collection Agency Licensing Board In The Office of
6
      Commissioner of Financial Regulation, stated the following:
7
8                  a.    "Respondents might have acquired an exemplar contract simi

9                         to the ones entered into by the consumer defendants with
10
                          original creditor,
11
12                        applicable to the specific consumer credit agreement at issue,
13
                         (See In The Matter of LVNV Funding LLC, page 17, y[ 20).
14
15                       (Emphasis added).

16
            120. Upon information and belief, Defendants understood the
17
      between an "open" account and a "closed" account.            A "closed" account is
18
19    according to Black's Law Dictionary, one "to which no further additions can
20
      made on either side..." Thus, it is clear that the "open" or "closed" nature of a
21
22    account turns not on the account balance per se, but on the parties' expectations of
23
       possible future transactions between them."' (See Cochran v. Rubens,42 Cal. App.
24
25    4`'' 481, 485 (1996)).

26           121. Defendants knew (or should have known) the PRIOR account
27
      CLOSED on August 8,2016 by the request of Plaintiff.(Emphasis added).
28



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  1     was no continuation of the PRIOR account, and there were no "expectations

  2    possible future transactions." At least one appeals court has rejected the notion tha
  3
       a liability to a bank exists absent the presence ofan applicable cardholder
  4
  5    with ALL terms and conditions provided. By way of example, see
  6
       American Express, Alabama Court of Civil Appeals, cv-11-903556.
  7
  8           122. Defendants knew (or should have known)that if Capital One Bank

  9    any of its agents lacked standing to either furnish or to collect anon-existent de
10
       then by logic and common sense, neither did defendants. (Emphasis added).
11
12           123. Defendants understood that Plaintiff need not accept mere conclus
13
       statements couched as factual allegations on any "account stated" theory when
14
15     specifically objected to the "account sated," provided affirmative defenses,
16
       DENIED he owed a debt. Mere threadbare recitals by Defendants that Plain
17
18 "owes a debt" are conclusory, hearsay, and DENIED. (Emphasis added).
19           124. Defendants knew (or should have known)that the CRAs have specifi
20
       block provisions that prohibit a permanently deleted item from reappearing,
21
22     to the FCRA 15 U.S.C. § 1681i(a)(5)(B)(i).
23
             125. Upon information and belief, Defendants are sophisticated businesse
24
25 ~ who need not rely on hearsay or speculation. Defendants have access to informati
26     in their possession to know (or should know)that a bank can circumvent the blo
27
      provisions by creating a FAKE account number to furnish an item that was correctl
28



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 1    disputed upon receipt of proper NOTICE and correctly deleted by the CRAs,

 2    that is exactly what Capital One Bank did. (See Williams v. Capital One Cas
 3
      No. 5:17-cv-01216-CLS, Document 101-4, sworn testimony by Leonard A. Berme
 4
 5 ~ before the House Committee on Financial. Services,"Fair Credit Reporting Act: Ho
 6
      it Functions for Consumers and the Economy", page 17 at ¶ 4). (Emphasis added).
 7
 8           126. Defendants have chosen to "park" the same alleged account, claimi

 9    it is an "OPEN" account subject to "collections" even though it is the SAME allege
10
      account that was never "OPEN" and was furnished inaccurately by Capital
11
12    Bank, whereby the alleged debt was denied, disputed and the item was DELETED.
13
             127. Defendants know (and should know)that the term "park" is an Indus
14
15 ~ term used by data furnishers to willfully violate the FCRA by furnishing
                                                                              a fals

16
      balance and/or false item, and for the CRAs to willfully violate the FCRA b
17
18    reporting the false balance and/or false item, even when they know the informatio

19    is false. (See Rogers v. Discover Bank, Case No. 2:13-cv-01124-HGD, Documen
20
      1 at y[ 57-59).(See also Ross v. LVNV FUNDING, LLC, Case No. 2:16-cv-0015
21
22    SGC,Doc. 1 at y[ 64-65).5 (See also Williams, Doc. 57 at y[ 57-58). Defendants
23
      false credit reporting as a strategy to ruin the credit score
24
25    from consumers on alleged but non-existent debts that are NOT owed to Defendants.

26
27
      s In Ross, LVNV had apparently even lost its collection suit in small claims court, yet allegedly
28
      continued its false credit reporting until it was sued by counsel for Ross in Federal Court.


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1           128. RESURGENT implied to the CFPB via its response to Plaintiffs

2     complaint that the item is subject to furnishing with the CRAs, and sugges
3
      Plaintiff to "file a police report" which it knew (or should have known) was abs
4
5           129. RESURGENT knew (or should have known) that its claims to
6
      CFPB were nothing more than fantastical delusions that Plaintiff agreed to pay
7
8     debt on the alleged account by way of an applicable agreement or account stated.

9           130. RESURGENT responded to the CFPB on July 20, 2017 regardi
10
      Plaintiff's second "amended" complaint filed against LVNV with the CFPB.
11
12          131. RESURGENT regurgitated its prior response to the first complaint
13
      by Plaintiff RESURGENT reiterated to the CFPB that it takes its co
14
15    procedures seriously. RESURGENT knew that Plaintiff regarded the claim as
16
      "poppycock" which Oxford Dictionary defines as "nonsense."
17
18           132. RESURGENT knew (or should have known) its claim of an "accoun

19    stated" for the alleged account, although novel, was gossamer in nature, barely risi
20
      above the level of speculation, and resembled a house of straws built on sand.
21
22           133. Plaintiff provided repeated "NOTICE PLEADINGS"to Defendants vi
23
      the CFPB, via direct disputes, and via "NOTICE OF DISPUTE" to the CRAs,
24
25    instructed Defendants and any of its agents to refrain from violating any state

26    Federal laws regarding the furnishing and/or collection of the non-existent debt.
27
28



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 1    Despite repeated good-faith efforts by Plaintiff and providing repeated NOTI

 2    Defendants' actions smacked of recidivism. (Emphasis added).
 3
            134. RESURGENT knew (or should have known) that its communicatio
 4
 5    with Plaintiff through the CFPB in its response to Plaintiff's second complain
 6
      against LVNV was defined as a "subsequent communication" with Plaintiff.
 7
 8          135. RESURGENT,in its subsequent communication, did not disclose tha

 9 "the communication is from a debt collector" pursuant to Sec 807(11),[15 U.S.C.
10
   1692e(11)]. (Emphasis added). RESURGENT knew (or should have known) tha
11
12    the FDCPA requires the disclosure with EACH subsequent communication.
13
            136. RESURGENT did not dispute the factual statements in Plaintiff
14
15    second complaint filed with the CFPB,including, but not limited to:
16                             That the CFPB issued a CONSENT ORDER
                  a.
17
                        CHASE      BANK,        USA      N.A.,   which   stipulated
18
19                      "Documentation and Information Available to Debt Buyers
20
                        Debt Sale will make available to a Debt Buyer, at a minimum:
21
22                      "the Effective Credit Agreement." (See In the Matter of Chase
23
                         Bank, Consent Order File No. CFPB-2015-0013, at 9[ 69(a)(i)).
24
25                      (Emphasis added).

26                b.           That the CFPB also stipulated that "Documentation
27
                         Information Available to Debt Buyers After Debt Sale" to also
28



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 1                           include "a                            h
 2                           Resuondent's investigation of the disuute." (See
 3
                             Order at ¶ 69(a)(ii)). 6 (Emphasis added).
 4
 5            137. RESURGENT knew (or should have known)that it did NOT have
 6
       Effective Credit Agreement" which the CFPB defines as "the written document
 7

 8     documents evidencing the terms of the legal obligation between Respondents
 9
       the Consumer at the time ofCharge-Off." (See Consent Order at ¶ 11(1)).
10
              138. RESURGENT did not make any collection calls to Plaintiff, either
11
12     itself or through any ofits agents, yet continued to furnish monthly false informatio
13
       to the CRAs regarding the non-existent debt.
14
15            139. RESURGENT did not make any further written statements indicati
16
       that it was "attempting to collect a debt" from Plaintiff, yet continued to
17
18     monthly false information to the CRAs regarding the non-existent debt.

19            140. RESURGENT did have a record ofPlaintiff's dispute with Capital
20
       Bank, and knew (or should have known)the "results ofthe dispute."
21
22           141. Upon information and belief, Defendants were "done dunning."
23
             142. Plaintiff extended all courtesies to BOTH defendants, LVNV
24
25    RESURGENT, in order to resolve the dispute amicably and without litigation.
26

27
      6 Plaintiff respectfully requests this court to take judicial notice ofthe CFPB CONSENT
28
      ORDER, and for any regulatory actions specifically taken against Defendants.



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  1           143. By way of example, Plaintiff wrote the following in his s

  2    complaint with the CFPB on July 10, 2017: "Based on the foregoing, and to
  3
       an amicable resolution to this matter, I request that Resurgent/LVNV delete the i
  4
  5    from all credit files upon receipt of NOTICE...In consideration for the
  6
       removal by Resurgent/LVNV of this item from my credit files, and the
  7
 8     cease and desist ofits attempts to collect on this alleged account,I will also c
 9     my investigation into this matter as closed for good." (Emphasis added).
10
              144. Defendants understood upon receipt of the response by Plaintiff
11
12 Plaintiff met all conditions precedent before the filing of this suit.
13
              145. Defendants understood that Plaintiff would seek all le
14
15     necessary, and was making every effort for Defendants to mitigate damages.
16
             146. Defendants understood that failing to provide the
17
18     requested by Plaintiff created a tacit agreement, and thus defendants had no basis

19     establish and substantiate any cause of action, either on "account stated" or by
20
      ~ of an "applicable cardholder agreement."
21
22           147. Defendants knew (or should have known) that they lacked standing
23
       either to furnish or to collect on the alleged account for the non-existent debt,
24
25 failed to state a claim for which relief could be granted.
26           148. Defendants continued to furnish the alleged account to the
27
       which it knew was FALSE, patently misleading and/or unverified.
28



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                                       COMPLAINT FOR DAMAGES
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1            149. Defendants violated and continued to violate 15 U.S.C. § 1681s-

2     2(a)(1)(B) and 15 U.S.C. § 1681s-2(a)(2)(B). These violations have no private
 3
      of action by an individual, and thus, are simply "dead weights" ofthe FORA. Upo
 4
5     information and belief, the Ninth Circuit opined the following, "The words of
 6
      statute, are, of course, dead weights unless animated by the purpose of the statute."
 7
                                                          1171 (9t" Cir. 2000)).
 8 (See Favish v. Office of Indep Counsel, 217 F.3d 1168,
 9           150. Plaintiff sent NINE additional NOTICE OF DISPUTE letters to
10
      CRAB regarding the alleged account, via recordable delivery tracking wi
11
12    USPS.com. Defendants received said NOTICE from the CRAs through the ACDV.
13
                             METRO 2: RISE OF THE MACHINES
14
15           151. Defendants utilize the e-OSCARO web-based, Metro 2 compliant,
16
      automated system that enables data furnishers and CRAs to create and respond
17
18    consumer credit history disputes. The entire Metro 2 manual is available as a ma

19    of record. (See Millet v. Trulink Inc., Case No. 1:05-cv-00599-SLR, Doc. 174-6).
20
              152. Defendants know (and should know)that disputes by a consumer to
21
22 furnisher via the CRAs are scanned by machines and first routed offshore, includi
23
      but not limited to, India (TRANSUNION), the Philippines and India (EQUIF
24
25    and Costa Rica(EXPERIAN). CRAB' agents then send the dispute to Defendants.

26
27
       ~ e-OSCAR is an acronym that stands for "Online Solution for Complete and Accurate
28
       Reporting. http://www.e-oscar.org/about-e-oscar.aspx


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 1          153. RESURGENT responds to the CRAs, either via ACDV or via

 2    Automated Universal Data form ("AUD") to report out-of-cycle credit histo
 3
      updates to the CRAs.
 4
 5          154. The Consumer Data Industry Association ("CDIA") is a
 6
      association that represents major institutions including CRAB, and provides Metro
 7
 8    regulatory compliance training workshops, and guidance for data furnishers such a

 9    LVNV and RESURGENT. The CDIA issues occasional memos for CRAs.
10
             155. Defendants knew (or should have known)that in 2015, the CDIA iss
11
12    a memo, whereby the CRAs agreed that collection agencies were no longer
13
      to report any debts that were "not the result of a contract or agreement to pay.
14
15 (Emphasis added). RESURGENT knows it is a collection agency.
16
             156. Defendants knew (or should have known)that it was furnishing an
17
18    that was "not the result of a contract or agreement to pay" between Plaintiff

19    ANY entity regarding the alleged account. Defendants knew (or should ha
20
      known) that at all times relevant, they lacked standing to furnish the item.
21
22           157. The CDIA memo is publicly available, and it speaks for itself.g
23
             158. Plaintiff disputed the accuracy of the alleged account furnished
24
25    Defendants and requested the CRAs to reinvestigate the disputed information.

26    Plaintiff sent each "NOTICE OF DISPUTE" via certified mail as follows:
27
28
      8 https://www.cdiaonline.org/resources/furnishers-of-data-overview/changes-to-guidelines/


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 1                 a.      On July 17, 2017 to EXPERIAN.

 2                 b.      On July 24, 2017 to EQUIFAX.
 3
                   c.         On August 2, 2017 to TRANSUNION.
 4
 5                  d.        On September 20, 2017 to TRANSUNION.
 6
                    e.        On September 26, 2017 to EXPERIAN.
 7
 8                 f.         On November 8, 2017 to TRANSUNION (copy to CFPB).

 9                  g.        On June 1, 2018 to EXPERIAN.
10
                    h.        On June 9, 2018 to EQUIFAX.
11
12                  i.        On July 11, 2018 to TRANSUNION.
13
             159. Defendants knew (or should have known), pursuant to the FCRA, S
14
15 623(b)(1)(E), [15 U.S.C. § 1681s-2(b)(1)(E)], with each subsequent "NOTICE O
16
      DISPUTE" sent to the CRAs,"if an item of information disputed by a consumer
17
18    found to be inaccurate or incomplete or cannot be verified after an

19    reinvestigation under paragraph (1), for purposes of reporting to a consu
20
      reporting agency only, as appropriate, based on the results of the reinvestigati
21
22    promptly —
23
                    (i)       modify the item of information;
24
25                 (ii)       delete that item of information; or

26                 (iii)      permanently block the reporting of that item of information.''
27
      '~, (Emphasis added).
28



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 1            160. Defendants knew (or should have known) to "review all relevan

 2     information provided by the consumer reporting agency pursuant to secti
 3
       611(a)(2)[§ 1681 i]."
 4
 5            161. Defendants failed to review all relevant information provided by
 6
       CRAs regarding Plaintiff's disputes.
 7
 8            162. Defendants failed to conduct a reasonable investigation and failed

 9     conduct a reasonable reinvestigation upon receipt of multiple "NOTICE" from
10
       CRAs. Merriam Webster's dictionary defines "reinvestigate" as a transitive
11
12     meaning "to investigate (something) again."
13
              163. Defendants failed repeatedly to update their records to reflect
14
15     information they were furnishing to the CRAB was,in fact, false, inaccurate, pa
16
       misleading and/or unverified.
17
18            164. Defendants continued to willfully and negligently furnish inaccura

19     information, failed repeatedly to conduct proper reinvestigations, and fai
20
       repeatedly to correct the inaccuracies to ensure that the false balance for the
21
22     existent debt for the alleged account was DELETED. (Emphasis added).
23
             165. Congress amended Section 616 and Section 617 ofthe FCRA [§ 1681
24
25    and § 16810] in 1996 to expand the reach from "consumer reporting agencies

26    users of consumer reports" to the present "any person."9
27
28
      9 See Pub. L. No. 104-208, Div. A, Sec. 2412, 110 Stat. 3009, 3009-446 (1996).


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1           166. Defendants knew (or should have known} that any person who fails

2     comply with any requirement imposed pursuant to the FORA with respect to
3
      consumer is liable to that consumer. (Emphasis added). Defendants, and each o
4
5     them, at all times relevant herein, were the principals, agents, employers,
6
      and ratified, or approved of the acts or omissions alleged herein with respect to
7
8     willful and/or negligent violations of the FORA, and were acting in the course

9     scope of the authority of such principals, agents, employers and employees.
10
             167. Defendants received an image file from the CRAs with the dispute
11
12    and ALL relevant documents sent by Plaintiff with each ACDV sent by the
13
      with each "NOTICE OF DISPUTE" sent by Plaintiff "ALL relevant documents
14
15    include copies of prior proof of deletion and copies of credit reports showing Curren
16
      inaccuracies, etc.
17
             168. In the alternative, Defendants did NOT receive an image file of
18
19    dispute letter and/or ALL relevant documents with each ACDV sent by the CRAB.
20
      Instead, Defendants only received the dispute with a corresponding Metro 2 co
21
22     and a one or two-line summary description of the dispute.
23
             169. By way of example, Defendants received an ACDV with an image
24
25     of a document titled "AFFIDAVIT OF TRUTH" signed and sworn in front of

26     California Notary by Plaintiff with his "NOTICE" to EXPERIAN, EQUIFAX
27
       TRANSUNION with a letter dated June 1, June 9 and July 11, 2018, respectively.
28



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1           170. In the alternative, Defendants received an ACDV in summary form

2     did NOT receive an image file of a document titled "AFFIDAVIT OF TRUTH'
3
      signed and sworn in front of a California Notary by Plaintiff with his "NOTICE"
4
5     EXPERIAN,EQUIFAX and TRANSUNION with a letter dated June 1, June 9
6
      July 11, 2018, respectively.
7
8           171. As a result of the NINE so-called "reinvestigations", Defendan

 9    willfully violated the FORA by doing the following, including, but not limited to:
10
                   a.           Defendants falsely modified the inaccurate LVN
11
12                       "collections" item by switching the "Date First Reported" fro
13
                         "MAY 2017" to "JITNE 2017" on Plaintiff's EXPERIAN
14
15                       which "re-aged" the item to make it appear that it was NOT firs

16
                         reported in MAY of 2017 on the EXPERIAN report.
17
                   b.           Defendants falsely modified the inaccurate L
18
19                       "collections" item by switching the "Date First Reported"
20
                         from "JUNE 2017" to "JULY 2017" on Plaintiff's
21
22                       report. Plaintiff informed EXPERIAN that RESURGENT
23
                         already received a "NOTICE OF DISPUTE" in MAY 2017,
24
25                       responded to the CFPB in writing on June 15, 2017 indicatin

26                        that it "did not receive any requests to delete the LV
27
                          tradeline" from Plaintiff. In doing so, defendants attempted
28



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                       "mask" the item from showing on EXPERIAN that it was in
 1
2                      first reported and disputed in MAY 2017.
 3
                  c.          Defendants removed the "$0" from the "Charge Off' da
 4
 5                      field, which showed the "Charge-Off Balance: $0" fro
 6
                        Plaintiff's credit report with EQUIFAX, after Plaintiff s
 7
                       "NOTICE" to EQUIFAX for a reinvestigation.          Defen
 8
 9                      knew that a "charge-off' balance would only show a "$0" if i
10
                        fact, there was NO BALANCE due at the time of "charge-off.
11
12                      Defendants willfully violated the FCRA by attempting to remo
13
                        evidence that there was NO BALANCE OWED by Plaintiff a
14
15                      the time ofthe alleged "charge-off."
16                            Defendants "backdated" the "Account Balance" history
                  d.
17 i
                        Plaintiff's EXPERIAN consumer report after its receipt o
18
19                     "NOTICE" from EXPERIAN that the item was being
20
                        inaccurately, and switched the "Balance" from $8,955 down
21
22                      $495. Plaintiff inquired via telephone after the receipt of
23
                       "reinvestigation" results from EXPERIAN and asked who
24
25                      the person that could have made such change to the "Accoun

26                      Balance" fields, and the representative informed Plaintiff
27
                        "only LVNV could have done that." (Emphasis added).
28



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                  e.          Defendants switched the `Balance" main, from $495
1
2                      $531 in Plaintiff's EXPERIAN report in the "Account Balance'
3
                        history, to make it appear that interest and fees were magicall
4
5                       accumulating on the so-called "balance." Defendants knew tha
6
                        these random amounts furnished to EXPERIAN were FALSE.
7
8                       Defendants falsely represented one false balance by switchi

 9                      the false balance to yet another false balance upon receipt o
10
                        repeated "NOTICE" by EXPERIAN, thus failing to conduct
11
12                      proper reinvestigation. (Emphasis added).
13
                  f.          Defendants upon receipt of "NOTICE" by EXPERIAN
14
15                      added a notation to the "Account Balance" history in Plaintiff
16
                        EXPERIAN report, falsely representing"
17
18                      balance for this account was $495." (Emphasis added).

19                g.          Defendants, upon receipt of multiple "NOTICE" fron
20
                        TRANSUNION, switched the "Account Status" from "OPEN''
21
22                      to "CLOSED" and claimed the account was "UPDATED."
23                                                                       Status"
                        Defendants then     switched     the "Account
24
25                     "CLOSED" to "OPEN" once again, claiming the item

26                     "UPDATED." Plaintiff was informed by a representative
27
                        TRANSUNION that "We will report whatever LVNV tells us."
28



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1            172. As data furnishers utilizing the e-OSCAR system, Defendants pay .

2     cents (thirty cents) to respond to each "NOTICE OF DISPUTE" from the CRAs
3
      Defendants know (and should know) they must comply with ALL terms
4
5     conditions of their binding contract with Online Data Exchange, LLC ("OLDE").'o
6
             173. Defendants paid $3.60 (three dollars and sixty cents) for the TWEL
7
8     responses it provided to the CRAs, either via ACDV or AUD regarding Plaintiff

 9    disputes dated from May of 2017 through July of 2018. Upon information
10
      belief, Defendants and their respective agents have been to Starbucks0.
11
12    knew (or should have known)that $3.60 is less than the cost ofjust ONE Tall Whi
13
      Chocolate Mocha (hold the whip).
14
15           174. Defendants knowingly, willfully, intentionally and malicious
16
      manipulated the data fields using the e-OSCAR system to operate with impunit
17
18    upon receipt of NOTICE after NOTICE from the CRAB,by failing to conduct

19    reinvestigations, in willful violation of the FCRA § 1681n, and at a bare minimu
20
      in negligent violation of the FCRA,§ 16810.
21
22           175. Defendants were buried in their own fabrications while
23
      pretended to "stand in the soiled shoes" of the original alleged creditor(s).
24
25    Defendants knew (and should have known) that their conduct was WRONG.

26 (Emphasis added).
27
28
       ~0 OLDE makes the e-OSCAR system available for use by data furnishers and CRAs.


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                                   ARTICLE III STANDING
 1
 2           176. Plaintiff reaffirms and re-alleges all preceding paragraphs as thou
 3
      fully stated herein.
 4
 5           177. Upon information and belief, as cited in a Supreme Court decisio
 6
      "The irreducible constitutional minimum of standing consists of three elements
 7
 8    injury in fact, causation and redressability. (See Lujan v. Defs. Of Wildlife,
 9    U.S. 555, 560-61, 112 S. Ct. 2130, ll9 L.Ed.2d 351 (1992)).
10
             178. Plaintiff Vora has standing pursuant to Article III of the United State
11.
12 Constitution because he has suffered an injury in fact, the injury in fact is traceabl
13
      to the challenged conduct of Defendants' actions described herein, and Plaintiff
14
15    injury in fact is likely to be redressed by a favorable judicial decision in this court.
16
             179. Plaintiff Vora's injury in fact is both particular and concrete because
17
18     has suffered an invasion of a legally protected interest that is concrete, particul

19     and actual or imminent.
20
              180. By way of example, Plaintiff has spent a tremendous amount of ti
21
22     and energy to research Defendants, the FDCPA, the FCRA and has i
23
       expenses to fix the errors on his consumer reports. Defendants acted with the wi
24
25     and malicious intent to injure and cause harm to Plaintiff. Plaintiff has s

26     anxiety, headaches, loss of sleep, humiliation, and other negative emotions directly
27
       caused by Defendants' actions in their willful and negligent violations of the FCRA.
28



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 1          181. Upon information and belief, the Ninth Circuit has opined tha

 2 "Objective evidence is NOT a requirement of emotional distress damages."
 3
   Zhan~ v. Am Gen Seafoods, Inc., 339 F.3d 1020, 1040 (9th Cir. 2003); See
 4
 5 Johnson v. Hale, F.3d 1351, 1352-53(9t" Cir. 1994). (Emphasis supplied). See als
 6
      Boris v. Choice~oint Servs., Inc., 249 F. Supp. 2d 851 (W.D. Ky. 2003)($100,00
 7
 8    in actual damages based on part on damage to plaintiff's reputation). The

 9 "actual damages" has been interpreted to include recovery for emo
10
   distress and humiliation. See Johnson v. Department of Treasures I.R.S., 700 F
11
12 971 (5`h Cir. 1983). (Emphasis supplied).
13
             182. Defendants operate byway of deception through a maze of inextricabl
14
15    intertwined LLCs to trick the consumers by hiding behind their shell companies.
16
      actions are all in attempts to avoid detection of their chicanery, and if fully know
17
18     would shock the moral conscience of any reasonable man or woman.

19           183. Plaintiff is within the statute of limitations pursuant to the FORA,
20
       1681p, as Plaintiff first discovered the conduct by Defendants in March of 2017,
21
22     thus Plaintiff's claims are not time-barred. Upon information and belief, Defendan
23
       have made an objectively unreasonable reading of the FCRA, which has gone
24
25     beyond a mere careless reading of the statute. Defendants' actions were in

26     and reckless disregard of the FORA. Defendants had ample opportunity to
27
       its actions, thus making any "bona fide error" defense more suitable for the shredder
28



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1            184. Guided by the provisions of Lujan, Plaintiff now brings forth his cau

2     of action against defendants for violations of Federal Law, 15 U.S.C. § 1681 et seq.
3
                                       CAUSES OF ACTION
4
5              COUNT I- VIOLATION OF THE FCRA,15 U.S.C. § 1681(b)
6
             185. Plaintiff reaffirms and incorporates by reference all prec
7
8     paragraphs as though fully stated herein.

 9           186. On or around March 16, 2017, defendants accessed Plaintiff
10
      consumer report with EXPERIAN, without any permissible purpose as defined i
11
12    the FCRA, § 1681b,"Permissible purpose of consumer reports."
13
             187. Defendants violated § 1681b by NOT having permission to access
14
15    EXPERIAN report pursuant to § 1681b(a)(1), § 1681b(a)(2), § 1681b(a)(3)(A)-(G),
16
      § 1681b(a)(4)(A)-(D), § 1681b(a)(5) and § 1681b(a)(6).
17
18           188. Defendants knew (or should have known) that access to Plaintiff's

19    EXPERIAN report was private, confidential information, and that defendants at
20
      times relevant lacked standing to obtain such report.
21
22           189. Defendants violated § 1681b(~, in obtaining Plaintiff's report
23
      EXPERIAN, and knew (or should have known)that once defendants gained acces
24
25     to the EXPERIAN report, defendants had no lawful purpose to use such a report.

26     Such request, acquisition and use of Plaintiff's consumer report was willful,
27
       caused damage to Plaintiff, thereby violating § 1681n. Plaintiff is entitled to
28



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1      damages or statutory damages. Plaintiff is entitled to punitive damages, costs of suit,

2      and attorney's fees as applicable. (Emphasis added).
 3
             190. In the alternative, defendants' actions were at the bare minimum,
 4
 5     negligent, and caused damage to Plaintiff, thereby violating § 16810. Plaintiff i
 6
       entitled to actual damages, costs of action and reasonable attorney's fees,
 7
 8     applicable.

 9              COUNT II —VIOLATION OF THE FCRA,15 U.S.C. § 1681b
10
              191. Plaintiff reaffirms and incorporates by reference all prec
11
12     paragraphs as though fully stated herein.
13
              192. On or around Apri125, 2017, defendants accessed Plaintiff's cons
14
15     report with EXPERIAN, without any permissible purpose as defined in the FORA,
16
       § 1681b,"Permissible purpose of consumer reports."
17
18            193. Defendants violated § 1681b by NOT having permission to access

19 EXPERIAN report pursuant to § 1681b(a)(1), § 1681b(a)(2), § 1681b(a)(3)(A)-(G),
20
   § 1681b(a)(4)(A)-(D), § 1681b(a)(5) and § 1681b(a)(6).
21
22       194. Defendants knew (or should have known) that access to Plaintiff s
23 I
       EXPERIAN report was private, confidential information, and that defendants at
24
25     times relevant lacked standing to obtain such report.

26            195. Defendants violated § 1681b(~, in obtaining Plaintiff's report
27
       EXPERIAN, and knew (or should have known) that once defendants gained access
28



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1     to the EXPERIAN report, defendants had no lawful purpose to use such a report.

2     Such request, acquisition and use of Plaintiff's consumer report was willful,
3
      caused damage to Plaintiff, thereby violating § 1681n. Plaintiff is entitled to
4
5     damages or statutory damages. Plaintiff is entitled to punitive damages, costs of
6
      and attorney's fees as applicable. (Emphasis added).
7
8           196. In the alternative, defendants' actions were at the bare mini

 9    negligent, and caused damage to Plaintiff, thereby violating § 16810. Plaintiff i
10
      entitled to actual damages, costs of action and reasonable attorney's fees,
11
12    applicable.
13
               COUNT III- VIOLATION OF THE FCRA,15 U.S.C. § 1681b
14
15           197. Plaintiff reaffirms and incorporates by reference all preceding
16
      paragraphs as though fully stated herein.
17
18           198. On or around October 24, 2017, defendants accessed Plaintiff

19    consumer report with EXPERIAN, without any permissible purpose as defined i
20
      the FCRA,§ 1681b,"Permissible purpose of consumer reports."
21
22           199. Defendants violated § 1681b by NOT having permission to access
23
      EXPERIAN report pursuant to § 1681b(a)(1), § 1681b(a)(2), § 1681b(a)(3)(A)-(G)
24
25    § 1681b(a)(4)(A)-(D), § 1681b(a)(5) and § 1681b(a)(6).

26
27
28



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     1          200. Defendants knew (or should have known) that access to Plaintiffl

  2 EXPERIAN report was private, confident
                                              ial information, and that defendants at
  3
    times relevant lacked standing to obtain such report.
  4
  5             201. Defendants violated § 1681b(~, in obtaining Plaintiff's report
  6
          EXPERIAN, and knew (or should have known)that once defendants gained
  7
  8       to the EXPERIAN report, defendants had no lawful purpose to use such a
 9 Such request,
                 acquisition and use ofPlaintiffs consumer reuort was willful,
10
   caused damage to Plaintiff, thereby violating § 1681n. Plaintiff is entitled to
11
12        damages or statutory damages. Plaintiff is entitled to punitive damages,costs of
13
         and attorney's fees as applicable. (Emphasis added).
14
15              202. In the alternative, defendants' actions described herein were at the
16
         minimum, negligent, and caused damage to Plaintiff, thereby violating § 16810
17
18       Plaintiff is entitled to actual damages, costs of action and reasonable attorney's

19       as applicable.
20
               COUNT IV —VIOLATION OF THE FCRA,15 U.S.C.§ 1681s-2(b)
21 ,I
22             203. Plaintiff reaffirms and incorporates by reference all precedi
23
         paragraphs as though fully stated herein.
24
25             204. Defendants received a "NOTICE OF DISPUTE" from all three maj
26       CRAs dated May 22, 2017 via ACDV, citing the inaccuracies of an item
27
         furnished by defendants.
28



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 1            205. Defendants failed to conduct a proper investi ag tion upon receipt o

 2 ~ NOTICE from the CRAB, thereby violating §
                                                1681s-2(b)(1)(A).
 3
         206. Defendants failed to review all relevant documentation upon receipt
 4
 5 ~ NOTICE from the CRAs,thereby violating § 1681s-2(b)(1)(B).
 6
              207. Defendants failed to properly report the results to the CRAs, there
 7
 8 ( violating § 1681s-2(b)(1)(C).
 9           208. Defendants failed to delete item that was false, inaccurate, patentl
10
       misleading and/or unverified, thereby violating § 1681s-2(b)(1)(E).
11
12           209. As a result of the violations by defendants of 15 U.S.C. § 1681s-2(b
13
       Plaintiff has suffered actual damages, and thus is entitled to recover actual damage
14
15     pursuant to § 1681 nand/or § 16810.
16
             210. Defendants' actions were willful, thereby making them liable
17
18     Plaintiff for statutory damages and/or punitive damages pursuant to § 1681 n.

19           211. Plaintiff is entitled to recover costs of the action and reasonablE
20
       attorney's fees from defendants as applicable, pursuant to § 1681 nand/or § 16810.
21
22           COUNT V —VIOLATION OF THE FCRA,15 U.S.C.§ 1681s-2(b)
23
             212. Plaintiff reaffirms and incorporates by reference all precedi
24
25     paragraphs as though fully stated herein.

26           213. Defendants received additional "NOTICE OF DISPUTE" from
27
      three major CRAB described herein, citing the inaccuracies of the item bei
28



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                                      COMPLAINT FOR DAMAGES
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  1     furnished by defendants. Specifically, defendants received "NOTICE" on ni

  2     separate occasions, requesting the reinvestigation ofthe item described herein.
 3
        NOTICE was sent via USPS Certified Mail delivery tracking, and speaks for itself.
 4
 5            214. Defendants failed to conduct proper reinvestigations, Defendants
 6
        to consider ALL relevant information, and Defendants failed to correct
 7
 8     inaccuracies by properly modifying, deleting and permanently blocking the item

 9      was false, inaccurate, patently misleading and/or ITNVERIFIED.
10
              215. Defendants' actions were willful, in violation of § 1681n, and Plainti
11
12     has suffered actual damage.
13
              216. At a bare minimum, defendants' actions were negligent, in violation o
14
15     § 16810, and Plaintiff has suffered actual damage.
16
              217. Plaintiff seeks to recover actual damage or statutory damage
17 ~
18     to 15 U.S.C. § 1681n(a)(1)(A).

19           218. Plaintiff seeks to recover punitive damages pursuant to 15 U.S.C.
20
       1681n(a)(2), as determined by the Court.
21
22           219. Plaintiff is entitled to recover costs of the action, and reas
23
       attorney's fees (if applicable), pursuant to § 1681n(a)(3).
24
25           220. In the alternative, Plaintiff is entitled to recover actual

26     pursuant to 15 U.S.C. § 1681 o(a)(1), and costs of the action with
27
       attorney's fees (if applicable), pursuant to 15 U.S.C. § 1681o(a)(2).
28



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 1                              TRIAL BY JURY DEMANDED
 2           221. Plaintiff hereby seeks discovery on all matters, including any potentia
 3
       amended complaint, and demands jury trial on all claims subject to a trier of fact.
 4
 5                                 PRAYER FOR RELIEF
 6
             222. WHEREFORE, Plaintiff prays for the following judgment entere
 7
 8     against Defendants:
 9                 a.     For Count I, actual damages or $1,000, whichever is greater
10
11                        pursuant to § 1681 n(a)(1)(B).

12                 b.     For Count II, actual damages or $1,000, whichever is greater
13
                          pursuant to § 1681 n(a)(1)(B).
14
15                 c.    For Count III, actual damages or $1,000, whichever is greater,,
16
                         pursuant to § 1681n(a)(1)(B).
17
18                 d.    For Counts IV and V, actual damages or statutory

19                       pursuant to § 1681 n(a)(1)(A) for each NOTICE, and/or
20
                         damages pursuant to § 1681 o(a)(1) for each NOTICE.
21
22                 e.    For all counts, punitive damages that a court may allow, pars
23
                         to § 1681n(a)(2).
24
25                f.     For all counts, cost of the action and reasonable attorney's
26
                        (if applicable), pursuant to § 1681n or § 16810.
27
                  g.     For any other relief that the court may deem just and proper.
28



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                                     COMPLAINT FOR DAMAGES
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2 (Respectfully submitted this day of    ~~~ ~ ~~ Z~~~
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4
5                                          By: Pritish Vora, Pro Se

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